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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                  Plaintiff,                                       Case No.:1:19-cv-1868 (RJL)
v.
OMAROSA MANIGAULT NEWMAN,
                  Defendant.
_______________________________________/

   PROPOSED ORDER GRANTING DEFENDANT, OMAROSA MANIGAULT
NEWMAN’S RESPONSE MOTION TO CONTINUE PLAINTIFF’S MOTION TO SEAL
  CERTAIN INFORMATION IN EXHIBITS TO ITS SUPPLEMENTAL BRIEF IN
         SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

       Upon consideration of Plaintiff’s Motion to Seal Certain Information in Exhibits to Its

Supplemental Brief in Support of Its Motion for Summary Judgment, it is HEREBY ORDERED

that: Defendant’s Motion to Continue Plaintiff’s Motion to Seal Certain Information in Exhibits to

Its Supplemental Brief in Support of Its Motion for Summary Judgment is GRANTED. The

version of Exhibits A-D to the Declaration of Christopher Lynch containing Defendant’s

unredacted contact information shall be filed under seal.


       It is so ORDERED, this day, ___________________________________, 2021.

                                             ________________________________
                                             Hon. Richard J. Leon
                                             United States District Judge
